08-13555-scc        Doc 18792    Filed 07/26/11 Entered 07/26/11 18:34:18 Main Document
                           Hearing Date and Time: August 17, 2011 at 10:00 a.m. (Prevailing Eastern Time)
                                                Pg 1 of 40
                          Objection Date and Time: August 10, 2011 at 4:00 p.m. (Prevailing Eastern Time)



 WEIL, GOTSHAL & MANGES LLP                                 HUGHES HUBBARD & REED LLP
 767 Fifth Avenue                                           One Battery Park Plaza
 New York, New York 10153                                   New York, New York 10004
 Telephone: (212) 310-8000                                  Telephone: (212) 837-6000
 Facsimile: (212) 310-8007                                  Facsimile: (212) 422-4726
 Richard P. Krasnow                                         David W. Wiltenburg
                                                            Jeffrey S. Margolin
 Attorneys for Debtors
 and Debtors in Possession                                  Attorneys for James W. Giddens, Esq.,
                                                            as Trustee for the SIPA Liquidation of
                                                            the Business of Lehman Brothers Inc.

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------------x
                                                                    :
 In re                                                              :   Chapter 11 Case No.
                                                                    :
 LEHMAN BROTHERS HOLDINGS INC., et al., :                               08-13555 (JMP)
                                                                    :
                                     Debtors.                       :   (Jointly Administered)
 -------------------------------------------------------------------x
                                                                    :
 In re                                                              :   Case No.
                                                                    :
 LEHMAN BROTHERS INC.,                                              :   08-01420 (JMP) (SIPA)
                                                                    :
                                     Debtor.                        :
 -------------------------------------------------------------------x
            NOTICE OF JOINT MOTION PURSUANT TO SECTIONS
             105(a) OF THE BANKRUPTCY CODE AND RULE 9019
           OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE TO
     APPROVE SETTLEMENT AGREEMENT BETWEEN LEHMAN
           BROTHERS HOLDINGS INC., AND JAMES W. GIDDENS, AS
 TRUSTEE FOR LEHMAN BROTHERS INC., REGARDING LEHMAN BROTHERS
     UNCLAIMED FUNDS IN COURT REGISTRY AND RELATED RELIEF


                  PLEASE TAKE NOTICE that a hearing to consider the annexed Motion (the

 “Motion”) of Lehman Brothers Holdings Inc. (“LBHI”) and James W. Giddens, Trustee for the

 SIPA Liquidation of Lehman Brothers Inc. (the “SIPA Trustee”), for authorization and approval,

 pursuant to sections 105(a) of title 11 of the United States Code (the “Bankruptcy Code”) and



 61479176_1
08-13555-scc     Doc 18792      Filed 07/26/11 Entered 07/26/11 18:34:18            Main Document
                                             Pg 2 of 40


 rule 9019 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), of a

 settlement agreement, all as more fully described in the Motion, will be held before the

 Honorable James M. Peck, United States Bankruptcy Judge, at the United States Bankruptcy

 Court, Alexander Hamilton Customs House, Courtroom 601, One Bowling Green, New York,

 New York 10004 (the “Bankruptcy Court”), on August 17, 2011 at 10:00 a.m. (Prevailing

 Eastern Time) (the “Hearing”).

                PLEASE TAKE FURTHER NOTICE that objections, if any, to the Motion shall

 be in writing, shall conform to the Bankruptcy Rules and the Local Rules of the Bankruptcy

 Court for the Southern District of New York, shall set forth the name of the objecting party, the

 basis for the objection and the specific grounds thereof, shall be filed with the Bankruptcy Court

 electronically in accordance with General Order M-399 (which can be found at

 www.nysb.uscourts.gov) by registered users of the Bankruptcy Court’s case filing system and by

 all other parties in interest, on a 3.5 inch disk, preferably in Portable Document Format (PDF),

 WordPerfect, or any other Windows-based word processing format (with two hard copies

 delivered directly to Chambers), and shall be served upon: (i) the chambers of the Honorable

 James M. Peck, One Bowling Green, New York, New York 10004, Courtroom 601; (ii) Weil,

 Gotshal & Manges LLP, 767 Fifth Avenue, New York, New York 10153, Attn: Richard P.

 Krasnow, Esq. and Amanda M. Hendy, Esq., attorneys for the Debtors; (iii) the Office of the

 United States Trustee for the Southern District of New York (the “U.S. Trustee”), 33 Whitehall

 Street, 21st Floor, New York, New York 10004 Attn: Tracy Hope Davis, Esq., Elisabetta G.

 Gasparini, Esq., and Andrea B. Schwartz, Esq.; (iv) Milbank, Tweed, Hadley & McCloy LLP, 1

 Chase Manhattan Plaza, New York, New York 10005, Attn: Dennis F. Dunne, Esq., Dennis

 O’Donnell, Esq., and Evan Fleck, Esq., attorneys for the Official Committee of Unsecured




 61479176_1                                      2
08-13555-scc     Doc 18792      Filed 07/26/11 Entered 07/26/11 18:34:18             Main Document
                                             Pg 3 of 40


 Creditors appointed in the Debtors’ chapter 11 cases; (v) Hughes Hubbard & Reed LLP, One

 Battery Park Plaza, New York, New York 10004, Attn: David W. Wiltenburg Esq., Jeffrey S.

 Margolin, Esq., attorneys for the SIPA Trustee; and (vi) any person or entity with a

 particularized interest in the Motion, so as to be so filed and received by no later than August 10,

 2011 at 4:00 p.m. (prevailing Eastern Time) (the “Objection Deadline”).

                PLEASE TAKE FURTHER NOTICE that if an objection to the Motion is not

 received by the Objection Deadline, the relief requested shall be deemed unopposed, and the

 Bankruptcy Court may enter an order granting the relief sought without a hearing.

                PLEASE TAKE FURTHER NOTICE that objecting parties are required to attend

 the Hearing, and failure to appear may result in relief being granted or denied upon default.


 Dated: July 26, 2011
        New York, New York


 /s/_Richard P. Krasnow___________________ /s/_David W. Wiltenburg_________________
 Richard P. Krasnow                        David W. Wiltenburg
                                           Jeffrey S. Margolin
 WEIL, GOTSHAL & MANGES LLP                HUGHES HUBBARD & REED LLP
 767 Fifth Avenue                          One Battery Park Plaza
 New York, New York 10153                  New York, New York 10004
 Telephone: (212) 310-8000                 Telephone: (212) 837-6000
 Facsimile: (212) 310-8007                 Facsimile: (212) 422-4726

 Attorneys for Debtors                                Attorneys for James W. Giddens, Esq.,
 and Debtors in Possession                            as Trustee for the SIPA Liquidation of
                                                      the Business of Lehman Brothers Inc.




 61479176_1                                       3
08-13555-scc        Doc 18792        Filed 07/26/11 Entered 07/26/11 18:34:18              Main Document
                                                  Pg 4 of 40


 WEIL, GOTSHAL & MANGES LLP                                 HUGHES HUBBARD & REED LLP
 767 Fifth Avenue                                           One Battery Park Plaza
 New York, New York 10153                                   New York, New York 10004
 Telephone: (212) 310-8000                                  Telephone: (212) 837-6000
 Facsimile: (212) 310-8007                                  Facsimile: (212) 422-4726
 Richard P. Krasnow                                         David W. Wiltenburg
                                                            Jeffrey S. Margolin
 Attorneys for Debtors
 and Debtors in Possession                                  Attorneys for James W. Giddens, Esq.,
                                                            as Trustee for the SIPA Liquidation of
                                                            the Business of Lehman Brothers Inc.

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------------x
                                                                    :
 In re                                                              :   Chapter 11 Case No.
                                                                    :
 LEHMAN BROTHERS HOLDINGS INC., et al., :                               08-13555 (JMP)
                                                                    :
                                     Debtors.                       :   (Jointly Administered)
                                                                    :
 -------------------------------------------------------------------x
                                                                    :
 In re                                                              :   SIPA Case No.
                                                                    :
 LEHMAN BROTHERS INC.,                                              :   08-01420 (JMP)
                                                                    :
                                     Debtor.                        :
 -------------------------------------------------------------------x
                  JOINT MOTION PURSUANT TO SECTIONS
             105(a) OF THE BANKRUPTCY CODE AND RULE 9019
           OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE TO
     APPROVE SETTLEMENT AGREEMENT BETWEEN LEHMAN
           BROTHERS HOLDINGS INC., AND JAMES W. GIDDENS, AS
 TRUSTEE FOR LEHMAN BROTHERS INC., REGARDING LEHMAN BROTHERS
     UNCLAIMED FUNDS IN COURT REGISTRY AND RELATED RELIEF

 TO THE HONORABLE JAMES M. PECK
 UNITED STATES BANKRUPTCY JUDGE:

                  Lehman Brothers Holdings Inc. (“LBHI,” together with its affiliated debtors in

 the above-referenced chapter 11 cases, the “Debtors,” and collectively with their non-debtor

 affiliates within their direct or indirect control, the “LBHI Entities”) and James W. Giddens (the


 61479176_1
08-13555-scc        Doc 18792         Filed 07/26/11 Entered 07/26/11 18:34:18                  Main Document
                                                   Pg 5 of 40


 “SIPA Trustee”), Trustee for the SIPA Liquidation of Lehman Brothers Inc. (“LBI”), under the

 Securities Investor Protection Act of 1970, as amended (“SIPA”) respectfully represent:

                                      PRELIMINARY STATEMENT

                   1.       The New York State Comptroller Office of Unclaimed Funds

 (the “NYS OUF”) has caused to be deposited $14,550,313.40 in Lehman Brothers Unclaimed

 Funds (as defined below) in the Clerk of Court’s registry (the “Registry”), which monies are

 claimed by the LBHI Entities and the SIPA Trustee, on behalf of LBI.1 After negotiations, the

 LBHI Entities and the SIPA Trustee have reached an agreement to allocate and distribute the

 Lehman Brothers Unclaimed Funds in a straight-forward and equitable manner whereby

 $13,157,964.41will be allocated to LBI and $1,315,471.69 to the LBHI Entities as set forth in the

 Settlement Agreement, dated July 26, 2011 between the parties, a copy of which is annexed

 hereto as Exhibit A (the “Settlement Agreement”). The parties have also agreed to a mechanism

 to eliminate the need for future Court intervention related to potential additional distributions of

 Lehman Brothers Unclaimed Funds from the NYS OUF (the “Future Distributions”). Pursuant

 to Bankruptcy Code Section 105(a)2 and Bankruptcy Rule 9019, LBHI and the SIPA Trustee

 respectfully request that the Court approve the Settlement Agreement and authorize the parties to

 effectuate the distribution of Lehman Brothers Unclaimed Funds for the benefit of LBI’s

 customers and creditors and the LBHI’s creditors.




 1.   A de minimis amount of interest has accrued on these funds in the Court’s Registry.

 2.   Bankruptcy Code section 105(a) is made applicable to the SIPA Proceeding pursuant to SIPA sections 78fff(b)
      and 78fff-1(a).




 61479176_1                                               2
08-13555-scc     Doc 18792      Filed 07/26/11 Entered 07/26/11 18:34:18           Main Document
                                             Pg 6 of 40


                                         JURISDICTION

                2.     As to the Chapter 11 Cases (as defined below), the Court has subject

 matter jurisdiction to consider and determine this matter pursuant to 28 U.S.C. § 1334 and this is

 a core proceeding pursuant to 28 U.S.C. § 157(b). As to the SIPA Proceeding (as defined

 below), the Court has subject matter jurisdiction to consider and determine this matter pursuant

 to SIPA § 78eee(b)(4) and venue is proper before this Court pursuant to SIPA § 78eee(a)(3) and

 SIPA § 78aa.

                                         BACKGROUND

                3.     Commencing on September 15, 2008 (the “Commencement Date”) and

 periodically thereafter, LBHI and certain of its subsidiaries commenced with this Court

 voluntary cases (the “Chapter 11 Cases”) under chapter 11 of title 11 of the United States Code

 (the “Bankruptcy Code”). The Chapter 11 Cases have been consolidated for procedural purposes

 only and are being jointly administered pursuant to Rule 1015(b) of the Federal Rules of

 Bankruptcy Procedure (the “Bankruptcy Rules”). The Debtors are authorized to operate their

 businesses and manage their properties as debtors in possession pursuant to sections 1107(a) and

 1108 of the Bankruptcy Code.

                4.     On September 17, 2008, the United States Trustee for the Southern

 District of New York appointed the statutory committee of unsecured creditors in the Chapter 11

 Cases pursuant to section 1102 of the Bankruptcy Code (the “Creditors’ Committee”).

                5.     On September 19, 2008, the Honorable Gerard E. Lynch, United States

 District Court, Southern District of New York, entered the Order Commencing Liquidation of

 LBI (the “LBI Liquidation Order,” LBI Docket No. 1), finding that LBI’s customers were in

 need of protection and commencing liquidation of LBI pursuant to the provisions of SIPA, in the




 61479176_1                                      3
08-13555-scc        Doc 18792         Filed 07/26/11 Entered 07/26/11 18:34:18                    Main Document
                                                   Pg 7 of 40


 case captioned Securities Investor Protection Corp. v. Lehman Brothers Inc., Case No. 08-CIV-

 8119 (GEL). The LBI Liquidation Order, inter alia, (i) appointed James W. Giddens trustee for

 the liquidation of the business of LBI pursuant to SIPA § 78eee(b)(3); and (ii) removed this case

 to this Court pursuant to SIPA § 78eee(b)(4), in the case captioned In re Lehman Brothers Inc.,

 Case No. 08-01420 (JMP).

 Lehman Brothers Unclaimed Funds.

                   6.       Prior to the commencement of the Chapter 11 Cases and the filing of the

 SIPA Proceeding, the NYS OUF held abandoned cash and securities in the name of LBI and of

 the LBHI Entities pursuant to the New York State Abandoned Property Law.

                   7.       On September 23, 2010, the Bankruptcy Court so-ordered the Stipulation

 and Order Regarding Lehman Brothers Unclaimed Funds (the “NY State Stipulation,” LBI

 Docket No. 3719).3 Pursuant to the NY State Stipulation, the NYS OUF caused to be deposited

 $13,207,191.47, representing cash and the proceeds of securities in the NYS OUF’s possession

 on or before July 31, 2010. These funds continue in the Court’s Registry, subject to further order

 of the Court allocating the Funds among LBI and the LBHI Entities.

                   8.       The NYS OUF caused to be deposited in the Registry an additional

 $1,343,121.93, representing cash and the proceeds of securities coming into the NYS OUF’s

 possession after July 31, 2010.

                   9.       The total amount of funds deposited by the NYS OUF in the Registry,

 subject to the claims of the LBHI Entities and the SIPA Trustee, is $14,550,313.40 (collectively,

 the “Lehman Brothers Unclaimed Funds”).


 3.   Summaries of the agreements contained herein are qualified entirely by the terms of such agreement. In case of
      any conflict between this Motion and any agreement referenced herein, the terms of such agreement govern.




 61479176_1                                               4
08-13555-scc        Doc 18792        Filed 07/26/11 Entered 07/26/11 18:34:18                  Main Document
                                                  Pg 8 of 40


                  10.      On November 18, 2010, the Court so-ordered the Stipulation and Order

 Between Lehman Brothers Holdings Inc. and the Trustee Regarding Interim Distribution from

 Lehman Brothers Unclaimed Funds in Court Registry (the “Distribution Stipulation,” LBI

 Docket No. 3899) providing an immediate release of $750,000 of Lehman Brothers Unclaimed

 Funds held in the Registry to the LBI estate in order for the SIPA Trustee to remit such funds to

 Unclaimed Property Recovery Services, Inc. (“UPRS”) in accordance with its agreement with

 the SIPA Trustee.4 The Distribution Stipulation further provided that these released funds shall

 be deducted from any Lehman Brothers Unclaimed Funds ultimately determined to be property

 of the LBI estate.

 The Allocation of Lehman Brothers Unclaimed Funds and Terms of Settlement.

                  11.      The LBHI Entities and the SIPA Trustee, on behalf of LBI, have asserted

 claims against the Lehman Brothers Unclaimed Funds. The reports generated by the NYS OUF

 in connection with the Lehman Brothers Unclaimed Funds (the “Reports”) consist of extensive

 itemized lists, with many thousands of line items making up the approximately $14.6 million

 now on deposit in the Registry. Certain line items unambiguously denote Lehman Brothers

 Unclaimed Funds allocable to LBI and the LBHI Entities. However, numerous other line items

 list “Lehman” or “Lehman Brothers” and others list historical corporate names that would

 require additional research at significant time and expense to trace such Funds to either LBI or

 the LBHI Entities (the “Requires Significant Research Category”).




 4.   LBI entered into a series of contracts with UPRS, dated May 28, 1996, September 18, 1997, March 23, 1998
      and January 14, 1997 to attempt to facilitate the return of Lehman Brothers Unclaimed Funds. On May 25,
      2010, the Bankruptcy Court so-ordered the Stipulation and Order Regarding Unclaimed Property Recovery
      Services, Inc.’s Agreements with Lehman Brothers Inc. (LBI Docket No. 3313) resolving issues related to
      amounts owed under such contracts and related matters.




 61479176_1                                             5
08-13555-scc     Doc 18792      Filed 07/26/11 Entered 07/26/11 18:34:18            Main Document
                                             Pg 9 of 40


                12.     Based on the Reports, the initial breakdown of Lehman Brothers

 Unclaimed Funds in the Registry into the foregoing categories is as follows:

 NYS OUF Categories                                                                     Allocation
 LBI                                                                                $10,902,089.68
 LBHI                                                                                   $18,886.89
 Requires Significant Research Category                                              $3,629,336.83
 TOTAL                                                                              $14,550,313.40

 (See Declaration of Katharine M. Southard, Esq. annexed hereto as Exhibit B (the “Southard
 Decl.”) at ¶ 4).

                13.     Prior to entering into the Settlement Agreement, the parties conducted a

 targeted analysis of the information contained in the Reports. LBHI identified, and the SIPA

 Trustee confirmed, 71 entries, totaling $570,990.70, initially allocated to LBI or the Requires

 Significant Research Category that listed LBHI or a subsidiary of LBHI in the “Account Title”

 field. Aside from LBHI, the following subsidiaries of LBHI were identified: E.F. Hutton Group,

 LB745 Leaseco I LLC, LB Real Estate Capital, LB1 Group, Lehman Brothers Latin America

 Limited, Lehman Brothers Limited, Lehman Brothers Global Services Limited, Lehman

 Brothers/Rosecliff, Inc., Lehman Commercial Paper, Inc., Lehman Capital Corporation, Lehman

 Pass-Through Securities, Inc., Lehman Realty Corporation and Shearson Lehman Commercial

 Paper. LBHI identified several entries, totaling $66,827.47, initially allocated to LBI or the

 Requires Significant Research Category, that listed other entities (“Other Entities”) not under the

 control of the LBHI Entities or LBI. (See Southard Decl. at ¶ 6 and Declaration of Steven J.

 Cohn annexed hereto as Exhibit C (the “Cohn Decl.”) at ¶ 5). LBHI also identified entries

 totaling $10,049.83 allocated to Lehman Brothers International Europe (“LBIE”). (See Southard

 Decl. at ¶ 6 and Cohn Decl. at ¶ 5).

                14.     The parties were not able to reach a conclusive determination with respect

 to the majority of the line items classified in the Requires Significant Research Category. In



 61479176_1                                       6
08-13555-scc       Doc 18792      Filed 07/26/11 Entered 07/26/11 18:34:18             Main Document
                                              Pg 10 of 40


 many instances, the Reports do not provide enough information to enable the parties to

 determine the proper allocation based on their corporate records and, as a result, the parties

 would have to contact each entity responsible for depositing the Funds with the NYS OUF for

 more information regarding the respective deposits. (See Cohn Decl. at ¶ 6). Given the

 administrative burden and expense that would be incurred by LBHI and the SIPA Trustee to

 conduct further investigation of such line items and the potential that it would likely not result in

 a conclusive determination, the parties commenced negotiations regarding a potential

 compromise. (Cohn Decl. at ¶ 6).

                  15.    After extensive, arm’s-length negotiations, LBHI and the SIPA Trustee

 have arrived at the following proposed compromise of the Lehman Brothers Unclaimed Funds,

 as set forth in the Settlement Agreement:

                 Based on the Reports, a total of $11,420,842.08 of the $14,550,313.40 of Lehman
                  Brothers Unclaimed Funds shall be allocated to LBI;

                 Based on the Reports and documentation provided by the LBHI Entities, a total of
                  $570,990.70 of the $14,550,313.40 of the Lehman Brothers Unclaimed Funds
                  shall be allocated to the LBHI Entities;

                 Certain line items in the Reports, totaling $10,049.83, allocated to LBIE, shall be
                  paid to LBHI, which shall promptly remit such funds to LBIE;

                 Certain line items in the Reports, totaling $66,827.47, initially allocated to either
                  LBI or the Requires Significant Research Category, denote corporate names of
                  other entities (“Other Entities”) outside the control of both the LBHI Entities and
                  LBI and, thus, neither LBI nor the LBHI Entities shall be credited such Funds and
                  the SIPA Trustee shall promptly remit such funds to the NYS OUF; and

                 Line items of the Reports that list in the “Account Title” field “Lehman” or
                  “Lehman Brothers” or corporate names that would require additional research, at
                  significant time and expense to the Trustee and the LBHI Entities, are part of the
                  Requires Significant Research Category and shall be allocated in the manner
                  whereby LBI shall receive 70% and LBHI shall receive 30% of such Funds; and

                 To the extent interest has accrued on the Lehman Brothers Unclaimed Funds in
                  the Registry, such accrued interest shall be allocated and paid upon the later of the



 61479176_1                                         7
08-13555-scc        Doc 18792         Filed 07/26/11 Entered 07/26/11 18:34:18                      Main Document
                                                  Pg 11 of 40


                   effectiveness of the Settlement Agreement or receipt of the funds in a manner
                   whereby LBI shall receive 70% thereof and LBHI shall receive 30% thereof.

 (Southard Decl. ¶¶ 6-7, 9, Cohn Decl. ¶ 6).

                   16.      The proposed compromise would result in the breakdown of Lehman

 Brothers Unclaimed Funds in the Registry into the various categories is as follows:

         Categories                                                                         Allocation
         LBI                                                                            $11,420,842.08
         LBHI Entities                                                                    $570,990.70
         LBIE                                                                               $10,049.83
         Requires Significant Research Category                             70% to LBI = $1,737,122.33
                                                                            30% to LBHI = $744,480.99
         Other Entities                                                                     $66,827.47

 Thus, the final allocation of the Lehman Brothers Unclaimed Funds would be as follows:

 LBI                                                                                               $13,157,964.415
 LBHI Entities                                                                                       $1,315,471.69
 LBIE                                                                                                   $10,049.83
 Other Entities                                                                                         $66,827.47

 (Southard Decl. ¶ 8, Cohn Decl. ¶ 6).

                   17.      The Settlement Agreement also provides that, upon receipt by the Trustee

 of a Future Distribution, the Trustee shall promptly provide LBHI with a written notice (the

 “Notice”) identifying the line items denoting Lehman Brothers Unclaimed Funds allocable to

 LBI, the LBHI Entities, the Requires Significant Research Category, or Other Entities, if any,

 which Notice shall be binding upon the Parties unless within 60 days of receipt of such Notice,

 or such other time as the Parties may agree, LBHI notifies the Trustee in writing that it objects to

 the Trustee’s allocations as set forth in the Notice. Such objection shall be resolved by the




 5.   Pursuant to the Distribution Stipulation, $750,000 of this amount has already been distributed to the Trustee and
      remitted to UPRS in accordance with the UPRS Stipulation.




 61479176_1                                                8
08-13555-scc     Doc 18792      Filed 07/26/11 Entered 07/26/11 18:34:18             Main Document
                                            Pg 12 of 40


 Bankruptcy Court or by the Parties without the need for further court approval. The Trustee

 shall return to the NYS OUF all Future Distributions denoting Lehman Brothers Unclaimed

 Funds allocable to Other Entities. The Settlement Agreement further provides that all funds

 allocated to LBIE shall be paid to LBHI, which, in turn, will promptly remit such funds to LBIE.

                                      RELIEF REQUESTED

                18.     In order to reach an accurate and equitable determination of claims as to

 the Lehman Brothers Unclaimed Funds, LBHI and the SIPA Trustee seek Court approval of the

 Settlement Agreement. To consummate the transactions therein, LBHI and SIPA Trustee request

 that the Court enter an order directing the Clerk of the Court to release from the Registry the

 Lehman Brothers Unclaimed Funds to the SIPA Trustee and the NYS OUF to make Future

 Distributions of Lehman Brothers Unclaimed Funds to the SIPA Trustee, in each case for

 allocation and distribution by the SIPA Trustee in accordance with the terms of the Settlement

 Agreement.

                                           ARGUMENT

 The Settlement Agreement is Fair and Equitable and Falls Well Within the Range of
 Reasonableness.

                19.     LBHI and the SIPA Trustee’s entry into the Settlement Agreement is in

 the best interest of their respective estates, and should be approved under Bankruptcy Rule 9019.

 Bankruptcy Rule 9019(a) provides that “[o]n motion by the trustee and after notice and a

 hearing, the court may approve a compromise or settlement.” Fed. R. Bankr. P. 9019(a). In

 ruling on a motion pursuant to rule 9019(a), a court must find that the proposed settlement is fair

 and equitable and is in the best interests of the estate or estates. Protective Comm. for Indep.

 Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. 414, 424 (1968); Fisher v.




 61479176_1                                       9
08-13555-scc     Doc 18792      Filed 07/26/11 Entered 07/26/11 18:34:18             Main Document
                                            Pg 13 of 40


 Pereira (In re 47-49 Charles St., Inc.), 209 B.R. 618, 620 (S.D.N.Y. 1997); In re Ionosphere

 Clubs, Inc., 156 B.R. 414, 426 (S.D.N.Y. 1993), aff’d, 17 F.3d 600 (2d Cir. 1994).

                20.     The decision to approve a particular settlement lies within the sound

 discretion of the bankruptcy court. Nellis v. Shugrue, 165 B.R. 115, 123 (S.D.N.Y. 1994). It is

 the responsibility of a court to examine a settlement and determine whether it “falls below the

 lowest point in the range of reasonableness.” Cosoff v. Rodman (In re W.T. Grant Co.), 699 F.2d

 599, 608 (2d Cir. 1983); In re Spielfogel, 211 B.R. 133, 144 (Bankr. E.D.N.Y. 1997).

 Additionally, a court may exercise its discretion “in light of the general public policy favoring

 settlements.” In re Hibbard Brown & Co., Inc., 217 B.R. 41, 46 (Bankr. S.D.N.Y. 1998).

                21.     While a court must “evaluate … all … factors relevant to a fair and full

 assessment of the wisdom of the proposed compromise,” Anderson, 390 U.S. at 424-25, a court

 does not need to conduct a “mini-trial” of the merits of the claims being settled, W.T. Grant Co.,

 699 F.2d at 608, nor does the court need to conduct a full independent investigation. In re

 Drexel Burnham Lambert Group, Inc., 134 B.R. 493, 496 (Bankr. S.D.N.Y. 1991).

                22.     The court may give weight to the informed judgment of the trustee or

 debtor in possession that a compromise is fair and equitable. In re Purofied Down Prods. Corp.,

 150 B.R. 519, 522 (S.D.N.Y. 1993); accord In re Ashford Hotels Ltd., 226 B.R. 797, 802 (Bankr.

 S.D.N.Y. 1998) (“Significantly, that test does not contemplate that I substitute my judgment for

 the Trustee’s, but only that I test his choice for reasonableness…. If the Trustee chooses one of

 two reasonable choices, I must approve that choice, even if, all things being equal, I would have

 selected the other”). Moreover, “the bankruptcy judge does not have to decide the numerous

 questions of law and fact…. The court need only canvass the settlement to determine whether it




 61479176_1                                      10
08-13555-scc       Doc 18792      Filed 07/26/11 Entered 07/26/11 18:34:18            Main Document
                                              Pg 14 of 40


 is within the accepted range of reasonableness.” Nellis, 165 B.R. at 123 (internal citations

 omitted).

                  23.    In the instant case, weighing the reasonableness factors for purposes of

 Bankruptcy Rule 9019, the Settlement Agreement satisfies the standard for approval.


                 First, the Settlement Agreement provides for the orderly allocation of line items
                  of Unclaimed Funds claimed by the LBHI Entities and the SIPA Trustee, on
                  behalf of LBI, which are part of the Requires Significant Research Category,
                  without requiring the SIPA Trustee and LBHI to spend time and resources on
                  further research.

                 Second, the proposed Settlement Agreement is the product of a negotiated, arms’-
                  length effort to allocate the Lehman Brothers Unclaimed Funds in an equitable
                  manner.

                 Third, the 70%/30% allocation of the Lehman Brothers Unclaimed Funds line
                  items that are part of the Requires Significant Research Category is an appropriate
                  exercise of LBHI’s and the SIPA Trustee’s business judgment. Besides the time
                  and expense incurred, such research, in many instances, would not likely result in
                  a conclusive allocation of such Funds among, but not limited to, the LBHI
                  Entities and LBI. LBHI and the SIPA Trustee desire to distribute the Lehman
                  Brothers Unclaimed Funds in a manner that resolves all outstanding claims and
                  liabilities arising from and related to the Lehman Brothers Unclaimed Funds and
                  believe that the 70%/30% allocation facilitates the orderly release of the Funds
                  from the Registry and is in the best interest of their respective estates.

                 Fourth, litigation regarding the allocation of the Lehman Brothers Unclaimed
                  Funds would be expensive and protracted, and would divert significant resources
                  and attention of both LBHI and the SIPA Trustee and their respective counsel and
                  staff.

                  (Cohn Decl. ¶ 6-7).

                  24.    Accordingly, the Settlement Agreement falls well above the “lowest

 point” in the range of reasonableness and is in the best interests of the LBHI’s and LBI’s

 respective estates, creditors, and other parties in interest. In connection with the Settlement

 Agreement, LBHI and the SIPA Trustee respectfully request that the Court order that the Clerk




 61479176_1                                       11
08-13555-scc        Doc 18792          Filed 07/26/11 Entered 07/26/11 18:34:18                      Main Document
                                                   Pg 15 of 40


 of the Court release the Lehman Brothers Unclaimed Funds and all interest accrued thereto to the

 SIPA Trustee so that the Settlement Agreement may be effectuated.

 Future Distributions of Lehman Brothers Unclaimed Funds.

                   25.      Pursuant to section 105(a) of the Bankruptcy Code, LBHI and the SIPA

 Trustee seek an order of the Bankruptcy Court directing the NYS OUF to make all Future

 Distributions of Lehman Brothers Unclaimed Funds to the SIPA Trustee on an annual basis.

 Upon receipt by the SIPA Trustee of a Future Distribution, the SIPA Trustee shall allocate and

 distribute such Funds in accordance with the terms of the Settlement Agreement.6

                   26.      Section 105(a) of the Bankruptcy Code provides, in pertinent part, that a

 bankruptcy court may “issue any order, process, or judgment that is necessary or appropriate to

 carry out the provisions [of the Bankruptcy Code].” 11 U.S.C. § 105(a). Under section 105(a),

 the Court has expansive equitable power to fashion any order or decree that is in the interest of

 preserving or protecting the value of a debtor’s assets. See, e.g., Comm. of Equity Sec. Holders

 v. Lionel Corp. (In re Lionel Corp.), 722 F.2d 1063, 1069 (2d Cir. 1983) (“[A] bankruptcy judge

 must have substantial freedom to tailor his orders to meet differing circumstances.”).

                   27.      Rather than ad hoc distributions from the NYS OUF, LBHI and SIPA

 Trustee believe that an annual distribution, likely to occur for several years, pursuant to Court

 order will streamline the recovery for the respective estates of Lehman Brothers Unclaimed

 Funds and further reduce administrative expense.



 6.   As provided in the Settlement Agreement, the SIPA Trustee shall promptly provide LBHI with the Notice,
      which Notice shall be binding upon the parties unless within 60 days of receipt of such Notice, or such other
      time as the parties may agree, LBHI notifies the SIPA Trustee in writing that it objects to the SIPA Trustee’s
      allocations as set forth in the Notice. Such objection shall be resolved by the Bankruptcy Court or by the parties
      without the need for further court approval. The SIPA Trustee shall return to the NYS OUF all Future
      Distributions denoting Lehman Brothers Unclaimed Funds allocable to Other Entities.




 61479176_1                                                12
08-13555-scc     Doc 18792      Filed 07/26/11 Entered 07/26/11 18:34:18            Main Document
                                            Pg 16 of 40


                                             NOTICE

                28.    LBHI has served notice of this Motion in accordance with the procedures

 set forth in the second amended order entered on June 17, 2010 governing case management and

 administrative procedures for these cases (LBHI Docket No. 9635) on: (i) the U.S. Trustee;

 (ii) the attorneys for the Creditors’ Committee; (iii) the Securities and Exchange Commission;

 (iv) the Internal Revenue Service; (v) the United States Attorney for the Southern District of

 New York; (vi) the NYS OUF; and (vii) all parties who have requested notice in the Chapter 11

 Cases. The SIPA Trustee has served Notice of this Motion in accordance with the Court’s

 Amended Order Pursuant to Section 105(a) of the Bankruptcy Code and Bankruptcy Rules

 1015(c) and 9007 Implementing Certain Notice and Case Management Procedures and Related

 Relief entered by the Court on July 13, 2010 (LBI Docket No. 3466) on: (i) the NYS OUF;

 (ii) UPRS; and (iii) all parties who have requested notice in the SIPA Proceeding. LBHI and the

 SIPA Trustee submit that no other or further notice need be provided.




 61479176_1                                      13
08-13555-scc     Doc 18792      Filed 07/26/11 Entered 07/26/11 18:34:18             Main Document
                                            Pg 17 of 40


                                      NO PRIOR REQUEST

                29.     No previous request for the relief sought herein has been made by LBHI

 or the SIPA Trustee to this or any other court.

                                          CONCLUSION

                WHEREFORE LBHI and the SIPA Trustee respectfully request that the Court

 enter the proposed Order annexed hereto as Exhibit D, approving the Settlement Agreement and

 granting such additional and further relief as the Court deems just.

 Dated: July 26, 2011
        New York, New York

 /s/ Richard P. Krasnow                                 /s/ David W. Wiltenburg

 Richard P. Krasnow                                     David W. Wiltenburg
                                                        Jeffrey S. Margolin
 WEIL, GOTSHAL & MANGES LLP                             HUGHES HUBBARD & REED LLP
 767 Fifth Avenue                                       One Battery Park Plaza
 New York, New York 10153                               New York, New York 10004
 Telephone: (212) 310-8000                              Telephone: (212) 837-6000
 Facsimile: (212) 310-8007                              Facsimile: (212) 422-4726

 Attorneys for Debtors                                  Attorneys for James W. Giddens, Esq.,
 and Debtors in Possession                              as Trustee for the SIPA Liquidation of
                                                        the Business of Lehman Brothers Inc.




 61479176_1                                        14
08-13555-scc   Doc 18792   Filed 07/26/11 Entered 07/26/11 18:34:18   Main Document
                                       Pg 18 of 40



                                     Exhibit A




 61479176_1
08-13555-scc     Doc 18792      Filed 07/26/11 Entered 07/26/11 18:34:18            Main Document
                                            Pg 19 of 40


               SETTLEMENT AGREEMENT BETWEEN LEHMAN BROTHERS
                 HOLDINGS INC., AND JAMES W. GIDDENS, AS TRUSTEE
                     FOR LEHMAN BROTHERS INC., REGARDING
              LEHMAN BROTHERS UNCLAIMED FUNDS IN COURT REGISTRY


                THIS SETTLEMENT AGREEMENT (the “Settlement Agreement”) is made as
 of July 26, 2011, between James W. Giddens (the “Trustee”), as Trustee for the liquidation of
 Lehman Brothers Inc. (“LBI”) under the Securities Investor Protection Act of 1970 (“SIPA”),
 and Lehman Brothers Holdings Inc. (“LBHI”). For convenience, and as the context may require,
 the Trustee and LBHI shall each be referred to individually as a “Party” and collectively as the
 “Parties.”

                                            RECITALS

         WHEREAS, beginning on September 15, 2008 and periodically thereafter, LBHI and
 certain of its subsidiaries (collectively, with their non-debtor affiliates within their direct or
 indirect control (other than LBI as defined below), the “LBHI Entities”) commenced with the
 United States Bankruptcy Court for the Southern District of New York (the “Bankruptcy Court”)
 voluntary cases under chapter 11 of title 11 of the United States Code (the “Chapter 11 Cases”);
         WHEREAS, on September 19, 2008, a proceeding was commenced under SIPA (the
 SIPA Proceeding”) with respect to LBI and the Trustee was appointed to administer LBI’s estate;

        WHEREAS, on May 25, 2010, the Bankruptcy Court so-ordered the Stipulation and
 Order Regarding Unclaimed Property Recovery Services, Inc.’s (“UPRS”) Agreements with
 Lehman Brothers Inc. (the “UPRS Stipulation,” LBI Docket No. 3313);

       WHEREAS, on September 23, 2010, the Bankruptcy Court so-ordered the Stipulation
 and Order Regarding Lehman Brothers Unclaimed Funds (the “NY State Stipulation,” LBI
 Docket No. 3719);

        WHEREAS, pursuant to the NY State Stipulation, the New York State Comptroller
 Office of Unclaimed Funds (the “NYS OUF”) caused to be deposited $13,207,191.47, consisting
 of abandoned cash and securities that the NYS OUF identified as being in the name of LBI and
 the LBHI Entities and that the NYS OUF believes could be validly claimed by, and paid over to
 LBI or the LBHI Entities or their lawful successors in the NYS OUF’s possession on or before
 July 31, 2010, with the Clerk of the Court’s registry (the “Registry”), subject to further order of
 the Bankruptcy Court allocating the Funds among LBI and the LBHI Entities;

          WHEREAS, the NYS OUF caused to be deposited an additional $1,343,121.93, for a
 total of $14,550,313.40, consisting of abandoned cash and securities that the NYS OUF
 identified as being in the name of LBI, LBHI, “Lehman,” “Lehman Brothers,” or other corporate
 names and that the NYS OUF believes could be validly claimed by, and paid over to LBI or the
 LBHI Entities or their lawful successors in the NYS OUF’s possession after July 31, 2010;

        WHEREAS, the Trustee and LBHI have, for purposes of reconciliation and allocation,
 agreed to treat all funds deposited by the NYS OUF, totaling $14,550,313.40, in the Registry


 61479176_1
08-13555-scc     Doc 18792      Filed 07/26/11 Entered 07/26/11 18:34:18           Main Document
                                            Pg 20 of 40


 described herein (collectively, the “Lehman Brothers Unclaimed Funds”) and all interest accrued
 thereto in the manner as provided for in this Settlement Agreement;

         WHEREAS, based on the reports generated by the NYS OUF in connection with the
 Lehman Brothers Unclaimed Funds (collectively, the “Reports”), certain line items properly
 denoted Lehman Brothers Unclaimed Funds allocable to LBI and the LBHI Entities, but many
 listed “Lehman,” “Lehman Brothers,” or corporate names that would require additional research
 at significant time and expense to the Trustee and the LBHI Entities (the “Requires Significant
 Research Category”);

         WHEREAS, based on the reports generated by the NYS OUF, the Trustee believed the
 overall distribution of the Lehman Brothers Unclaimed Funds in the Registry to be as follows:

 NYS OUF Categories                                                                    Allocation
 LBI                                                                               $10,902,089.68
 LBHI                                                                                  $18,886.89
 Requires Significant Research Category                                             $3,629,336.83
 TOTAL                                                                             $14,550,313.40

         WHEREAS, on November 18, 2010, the Bankruptcy Court so-ordered the Stipulation
 and Order Between Lehman Brothers Holdings Inc. and the Trustee Regarding Interim
 Distribution from Lehman Brothers Unclaimed Funds in Court Registry (the “Distribution
 Stipulation,” LBI Docket No. 3899) whereby, the Bankruptcy Court ordered an immediate
 release of $750,000 of Lehman Brothers Unclaimed Funds held in the Registry to the LBI estate
 in order for the Trustee to remit such funds to UPRS in accordance with the UPRS Stipulation;

         WHEREAS, the Distribution Stipulation further provided that these released funds shall
 be deducted from any Lehman Brothers Unclaimed Funds ultimately determined to be property
 of the LBI estate pursuant to a Bankruptcy Court approved agreement between the Trustee and
 LBHI or by Bankruptcy Court order;

         WHEREAS, the Parties desire to distribute the Lehman Brothers Unclaimed Funds in a
 manner that resolves all outstanding claims and liabilities between the Parties arising from and
 related to the Lehman Brothers Unclaimed Funds; and

         WHEREAS, the Parties believe that this Settlement Agreement facilitates the orderly
 release of the Lehman Brothers Unclaimed Funds from the Registry and is in best interest of the
 Parties’ respective estates.

        NOW THEREFORE, in consideration of the promises and mutual covenants, benefits
 and detriments contained herein, intending to be legally bound, the Parties do hereby agree as
 follows:




 61479176_1                                      2
08-13555-scc      Doc 18792      Filed 07/26/11 Entered 07/26/11 18:34:18              Main Document
                                             Pg 21 of 40


                                           SETTLEMENT

        1.      Disposition of Lehman Brothers Unclaimed Funds. On the “Effective Date” (as
 defined in Paragraph 9), this Settlement Agreement fully and finally settles and disposes of all
 claims of the Parties related to the Lehman Brothers Unclaimed Funds.

        2.      Allocation of Lehman Brothers Unclaimed Funds. The Parties hereby agree (as
 provided in the chart below) that:

              (a)    Based on the Reports, a total of $11,420,842.08 of the $14,550,313.40 of
         Lehman Brothers Unclaimed Funds shall be allocated to LBI;

                  (b)    Based on the Reports and documentation provided by the LBHI Entities, a
         total of $570,990.70 of the $14,550,313.40 of Lehman Brothers Unclaimed Funds shall
         be allocated to the LBHI Entities;

                 (c)    Certain line items in the Reports, totaling $10,049.83, allocated to Lehman
         Brothers International Europe (“LBIE”), shall be paid to LBHI, which shall promptly
         remit such funds to LBIE;

                 (d)      Certain line items in the Reports, totaling $66,827.47, initially allocated to
         either LBI or the Requires Significant Research Category, denote corporate names of
         other entities (“Other Entities”) outside the control of both the LBHI Entities and LBI
         and, thus, neither LBI nor the LBHI Entities shall be credited such Funds and the Trustee
         shall promptly remit such funds to the NYS OUF; and

                 (e)    Line items of the Reports that list in the “Account Title” field “Lehman”
         or “Lehman Brothers” or corporate names that would require additional research, at
         significant time and expense to the Trustee and the LBHI Entities, are part of the
         Requires Significant Research Category and shall be allocated in the manner whereby
         LBI shall receive 70% and LBHI shall receive 30% of such Funds.

         Categories                                                               Allocation
         LBI                                                                  $11,420,842.08
         LBHI Entities                                                          $570,990.70
         LBIE                                                                     $10,049.83
         Requires Significant Research Category                   70% to LBI = $1,737,122.33
                                                                  30% to LBHI = $744,480.99
         Other Entities                                                           $66,827.47
         TOTAL                                                                $14,550,313.40




 61479176_1                                         3
08-13555-scc        Doc 18792         Filed 07/26/11 Entered 07/26/11 18:34:18                      Main Document
                                                  Pg 22 of 40


         3.      Reallocation of Certain Lehman Brothers Unclaimed Funds. The Parties further
 agree that the below chart represents the final allocation of the Lehman Brothers Unclaimed
 Funds currently held in the Registry:

 LBI                                                                                               $13,157,964.411
 LBHI Entities                                                                                       $1,315,471.69
 LBIE                                                                                                   $10,049.83
 Other Entities                                                                                         $66,827.47
 TOTAL                                                                                              $14,550,313.40

         4.     Interest on Lehman Brothers Unclaimed Funds. To the extent interest has accrued
 on the Lehman Brothers Unclaimed Funds in the Registry, such accrued interest shall be
 allocated and paid upon the later of the effectiveness of this Settlement Agreement or receipt of
 the funds in a manner whereby LBI shall receive 70% thereof and LBHI shall receive 30%
 thereof.

         5.      Rule 9019 Approval. The Parties will jointly move the Bankruptcy Court in the
 Chapter 11 Cases and SIPA Proceeding for an order pursuant to Federal Rule of Bankruptcy
 Procedure 9019 approving this Settlement Agreement and directing (i) for the immediate release
 of the Lehman Brothers Unclaimed Funds and any interest accrued thereto held in the Registry
 and (ii) the NYS OUF to make all future distributions (“Future Distributions”), if any, of
 Lehman Brothers Unclaimed Funds to the Trustee on an annual basis, which Funds the Trustee
 shall distribute to LBI and/or the LBHI Entities in accordance with the terms of this Settlement
 Agreement (the “9019 Motion”).

         6.       Future Distributions from the NYS OUF. Upon receipt by the Trustee of a Future
 Distribution, the Trustee shall promptly provide LBHI with a written notice (the “Notice”)
 identifying the line items denoting Lehman Brothers Unclaimed Funds allocable to LBI, the
 LBHI Entities, the Requires Significant Research Category, or Other Entities, if any, which
 Notice shall be binding upon the Parties unless within 60 days of receipt of such Notice, or such
 other time as the Parties may agree, LBHI notifies the Trustee in writing that it objects to the
 Trustee’s allocations as set forth in the Notice. Such objection shall be resolved by the
 Bankruptcy Court or by the Parties without the need for further court approval. The Trustee
 shall return to the NYS OUF all Future Distributions denoting Lehman Brothers Unclaimed
 Funds allocable to Other Entities.

         7.      Releases. The Parties, on behalf of themselves and their respective estates,
 absolutely and unconditionally release and discharge each other and their respective agents,
 servants, employees, attorneys, other professionals and consultants, shareholders, members,
 directors, officers, affiliates, successors and assigns solely with respect to any and all liability in
 connection with the Lehman Brothers Unclaimed Funds in the Registry. For the avoidance of



 1.   Pursuant to the Distribution Stipulation, $750,000 of this amount has already been distributed to the Trustee and
      remitted to UPRS in accordance with the UPRS Stipulation.




 61479176_1                                                4
08-13555-scc     Doc 18792       Filed 07/26/11 Entered 07/26/11 18:34:18             Main Document
                                             Pg 23 of 40


 doubt, except as expressly set forth herein, rights, defenses and/or counterclaims of Parties hereto
 with respect to any other claims each might have against the other are fully preserved.

        8.    Conditions to Effectiveness. Except as provided in Paragraph 6, the Settlement
 Agreement will become effective on the date (the “Effective Date”) of the last of the following to
 occur:

                (a)     An order, in the form submitted with the 9019 Motion, or such
                        order as is otherwise satisfactory to the Parties, approving this
                        Settlement Agreement having been entered by the Bankruptcy Court, and
                        having become a final order; and

                (b)     The Parties receipt of the Lehman Brothers Unclaimed Funds and any
                        interest accrued thereto from the Registry in accordance with the terms
                        and allocation provided for in this Settlement Agreement.

        9.     Counterparts. This Settlement Agreement may be signed in counterparts which,
 when taken as a whole, shall constitute one and the same document; and faxed signatures shall
 be deemed originals.

         10.    Successors and Assigns. This Settlement Agreement shall be binding upon and
 inure to the benefit of the Parties hereto and their respective successors and assigns.

        11.     Captions. The captions of this Settlement Agreement are for convenience only
 and are not a part of this Settlement Agreement and do not in any way limit or amplify the terms
 and provisions of this Settlement Agreement and shall have no effect on its interpretation

         12.     Authority to Execute. Each individual signing this stipulation on behalf of any
 Party hereto acknowledges and, with respect to his or her own signature below, warrants and
 represents that he/she is authorized to execute this stipulation in his/her representative capacity,
 as reflected below and on behalf of the party indicated.

         13.     Governing Law. This Settlement Agreement shall be governed by and shall be
 interpreted in accordance with the laws of the State of New York, except to the extent that the
 Bankruptcy Code or SIPA apply, without regard to New York’s rules governing conflicts of
 laws.

          14.    Jurisdiction. Without limiting any Party’s right to appeal any order of the
 Bankruptcy Court, (i) the Bankruptcy Court shall retain exclusive jurisdiction to enforce the
 terms of the Settlement Agreement and to decide any claims or disputes which may arise or
 result from, or be connected with, the Settlement Agreement, any breach or default hereunder, or
 the transactions contemplated hereby, and (ii) any and all proceedings related to the foregoing
 shall be filed and maintained only in the Bankruptcy Court, and the Parties hereto hereby consent
 to and submit to the jurisdiction and venue of the Bankruptcy Court; provided, however, that if
 the Bankruptcy Court does not have or abstains from exercising such jurisdiction, the parties
 hereto agree to unconditionally and irrevocably submit to the exclusive jurisdiction of the United
 States District Court for the Southern District of New York sitting in New York County or the
 Commercial Division, Civil Branch of the Supreme Court of the State of New York sitting in


 61479176_1                                        5
08-13555-scc      Doc 18792      Filed 07/26/11 Entered 07/26/11 18:34:18              Main Document
                                             Pg 24 of 40



 New York County and any appellate court having jurisdiction over an appeal from any thereof,
 for the resolution of any such claim or dispute. The Parties hereby irrevocably waive, to the
 fullest extent permitted by applicable law, any objection which they may now or hereafter have
 to the laying of venue of any such dispute brought in such court or any defense of inconvenient
 forum for the maintenance of such dispute. The Settlement Agreement (and any claims or
 disputes arising out of or related hereto or to the transactions contemplated hereby or to the
 inducement of any party to enter herein, whether for breach of contract, tortious conduct or
 otherwise, and whether predicated on common law, statute or otherwise) shall in all respects be
 governed by, and construed in accordance with, the laws of the State of New York, including all
 matters of construction, validity and performance, in each case without reference to any conflict
 of law principles that might lead to the application of the laws of any other jurisdiction, except to
 the extent that the laws of the State of New York are superseded by title 11 of the United States
 Code.

        15. IN WITNESS WHEREOF THE PARTIES HERETO have hereby executed this
 Settlement Agreement on the date indicated in the first paragraph of this Settlement Agreement.


                                             JAMES W. GIDDENS, AS TRUSTEE FOR THE
                                             LIQUIDATION OF LEHMAN BROTHERS INC.
                                             UNDER THE SECURITIES INVESTOR
                                             PROTECTION ACT


                                             BY: HUGHES HUBBARD & REED LLP,
                                             COUNSEL FOR THE TRUSTEE


                                             By:	
                                                Name:


                                             LEHMAN BROTHERS HOLDINGS INC.


                                             By: 	
                                                 Name:
                                                 Title:




61479176_1	                                          6
08-13555-scc   Doc 18792   Filed 07/26/11 Entered 07/26/11 18:34:18   Main Document
                                       Pg 25 of 40
08-13555-scc   Doc 18792   Filed 07/26/11 Entered 07/26/11 18:34:18   Main Document
                                       Pg 26 of 40


                                     Exhibit B




 61479176_1
08-13555-scc        Doc 18792        Filed 07/26/11 Entered 07/26/11 18:34:18              Main Document
                                                 Pg 27 of 40


 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------------x
                                                                    :
 In re                                                              :   Chapter 11 Case No.
                                                                    :
 LEHMAN BROTHERS HOLDINGS INC., et al., :                               08-13555 (JMP)
                                                                    :
                                     Debtors.                       :   (Jointly Administered)
 -------------------------------------------------------------------x
                                                                    :
 In re                                                              :   Case No.
                                                                    :
 LEHMAN BROTHERS INC.,                                              :   08-01420 (JMP) (SIPA)
                                                                    :
                                     Debtor.                        :
 -------------------------------------------------------------------x

  DECLARATION OF KATHARINE M. SOUTHARD, ESQ IN SUPPORT OF JOINT
MOTION PURSUANT TO SECTIONS 105(a) OF THE BANKRUPTCY CODE AND RULE
  9019 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE TO APPROVE
 SETTLEMENT AGREEMENT BETWEEN LEHMAN BROTHERS HOLDINGS INC.,
     AND JAMES W. GIDDENS, AS TRUSTEE FOR LEHMAN BROTHERS INC.,
            REGARDING LEHMAN BROTHERS UNCLAIMED FUNDS
                IN COURT REGISTRY AND RELATED RELIEF

 TO THE HONORABLE JAMES M. PECK
 UNITED STATES BANKRUPTCY JUDGE:

         I, KATHARINE M. SOUTHARD, declare as follows:

                  1.       I am associated with the firm of Hughes Hubbard & Reed LLP (“Hughes

 Hubbard”), attorneys for James W. Giddens (the “SIPA Trustee”) as trustee for the liquidation of

 Lehman Brothers Inc. (“LBI”).

                  2.       I submit this declaration in support of the Joint Motion to Approve

 Settlement Agreement Between Lehman Brothers Holdings Inc., and James W. Giddens, as

 Trustee for Lehman Brothers Inc., Regarding Lehman Brothers Unclaimed Funds in Court




 61479176_1
08-13555-scc        Doc 18792         Filed 07/26/11 Entered 07/26/11 18:34:18                    Main Document
                                                  Pg 28 of 40


 Registry and Related Relief (the “Motion”).1 Hughes Hubbard is counsel to the Trustee in this

 action, and I have participated in the matters set forth herein.

                   3.       The LBHI Entities and the SIPA Trustee, on behalf of LBI, have asserted

 claims against the Lehman Brothers Unclaimed Funds. The reports generated by the NYS OUF,

 in connection with the Lehman Brothers Unclaimed Funds (the “Reports”) consist of extensive

 itemized lists, with many thousands of line items making up the approximately $14.6 million

 now on deposit in the Registry. Certain line items unambiguously denote Lehman Brothers

 Unclaimed Funds allocable to LBI and the LBHI Entities. However, numerous other line items

 list “Lehman” or “Lehman Brothers” and others list historical corporate names that would

 require additional research at significant time and expense to trace such Funds to either LBI or

 the LBHI Entities (the “Requires Significant Research Category”).

                   4.       The overall distribution of the Lehman Brothers Unclaimed Funds in the

 Registry is as follows:

 NYS OUF Categories                                                                                   Allocation
 LBI                                                                                              $10,902,089.68
 LBHI                                                                                                 $18,886.89
 Requires Significant Research Category                                                            $3,629,336.83
 TOTAL                                                                                            $14,550,313.40


                   5.       Rather than expend time and expense on a line-by-line analysis of the

 thousands of entries contained in the Reports, the LBHI Entities and the SIPA Trustee conducted

 targeted analysis of the Reports and engaged in extensive, arm’s-length negotiations.

                   6.       As a result of such analysis, the LBHI Entities identified, and the SIPA

 Trustee confirmed, 71 Unclaimed Funds entries totaling $570,990.70 that listed either LBHI or a


 1.   Capitalized terms used herein but not defined shall have the meaning ascribed to them in the Motion.




 61479176_1                                               2
08-13555-scc      Doc 18792       Filed 07/26/11 Entered 07/26/11 18:34:18           Main Document
                                              Pg 29 of 40


 subsidiary of LBHI in the “Account Title” field. The LBHI Entities and the SIPA Trustee agreed

 that all amounts related to LBHI’s subsidiaries shall be aggregated to LBHI and LBHI shall

 credit the amounts to the respective LBHI subsidiaries. LBHI also identified, and the SIPA

 Trustee confirmed, 10 Unclaimed Funds entries totaling $10,049.83, allocated to Lehman

 Brothers International Europe (“LBIE”). Finally, LBHI identified, and the SIPA Trustee

 confirmed, several entries, totaling $66,827.47, that denoted corporate names of other entities

 (“Other Entities”) outside the control of both the LBHI Entities and LBI, and, thus, neither the

 LBHI Entities nor LBI shall be credited such Funds and the SIPA Trustee shall promptly remit

 such funds to the NYS OUF. Based on the foregoing, a total of $11,420,842.08 of the

 $14,550,313.40 of the Lehman Brothers Unclaimed Funds shall be allocated to LBI.

                 7.       After negotiations between the parties, the Requires Significant Research

 Category shall be allocated in the manner whereby LBI shall receive 70% and LBHI shall

 receive 30% of such Unclaimed Funds.

                 8.       Thereby, based upon the analysis and negotiations described above, the

 final allocation of the Lehman Brothers Unclaimed Funds would be as follows:

         Categories                                                              Allocation
         LBI                                                                 $11,420,842.08
         LBHI Entities                                                         $570,990.70
         LBIE                                                                    $10,049.83
         Requires Significant Research Category                  70% to LBI = $1,737,122.33
                                                                 30% to LBHI = $744,480.99
         Other Entities                                                          $66,827.47
         TOTAL                                                               $14,550,313.40




 61479176_1                                        3
08-13555-scc        Doc 18792         Filed 07/26/11 Entered 07/26/11 18:34:18                      Main Document
                                                  Pg 30 of 40



  

 LBI                                                                                               $13,157,964.412
 LBHI Entities                                                                                       $1,315,471.69
 LBIE                                                                                                   $10,049.83
 Other Entities                                                                                         $66,827.47
 TOTAL                                                                                              $14,550,313.40


                   9.       To the extent interest has accrued on the Lehman Brothers Unclaimed

 Funds in the Registry, such accrued interest shall be allocated and paid upon the later of the

 effectiveness of the Settlement Agreement or receipt of the funds in a manner whereby LBI shall

 receive 70% thereof and LBHI shall receive 30% thereof.


 Executed on: July 26, 2011
              New York, New York
                                                                         /s/ Katharine M. Southard
                                                                           Katharine M. Southard




 2.   Pursuant to the Distribution Stipulation, $750,000 of this amount has already been distributed to the Trustee and
      remitted to UPRS in accordance with the UPRS Stipulation.




 61479176_1                                                4
08-13555-scc   Doc 18792   Filed 07/26/11 Entered 07/26/11 18:34:18   Main Document
                                       Pg 31 of 40


                                     Exhibit C




 61479176_1
08-13555-scc        Doc 18792        Filed 07/26/11 Entered 07/26/11 18:34:18              Main Document
                                                 Pg 32 of 40


 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------------x
                                                                  :
 In re                                                            :     Chapter 11 Case No.
                                                                  :
 LEHMAN BROTHERS HOLDINGS INC., et al., :                               08-13555 (JMP)
                                                                  :
                                     Debtors.                     :     (Jointly Administered)
 -------------------------------------------------------------------x
                                                                  :
 In re                                                            :     Case No.
                                                                  :
 LEHMAN BROTHERS INC.,                                            :     08-01420 (JMP) (SIPA)
                                                                  :
                                     Debtor.                      :
 -------------------------------------------------------------------x
            DECLARATION OF STEVEN J. COHN IN SUPPORT OF
             JOINT MOTION PURSUANT TO SECTIONS 105(a) OF
      THE BANKRUPTCY CODE AND RULE 9019 OF THE FEDERAL RULES
   OF BANKRUPTCY PROCEDURE TO APPROVE SETTLEMENT AGREEMENT
   BETWEEN LEHMAN BROTHERS HOLDINGS INC., AND JAMES W. GIDDENS,
      AS TRUSTEE FOR LEHMAN BROTHERS INC., REGARDING LEHMAN
  BROTHERS UNCLAIMED FUNDS IN COURT REGISTRY AND RELATED RELIEF

     Pursuant to 28 U.S.C. § 1746, I, Steven J. Cohn, declare:
                  1.       I am over 18 years of age and I can testify to the following facts based on

 my personal knowledge, my review of the business records of Lehman Brothers Holdings Inc.

 (“LBHI”), and/or my consultation with employees of Alvarez & Marsal North America, LLC

 (“A&M”) and LBHI.

                  2.       I submit this declaration in support of the Joint Motion to Approve

 Settlement Agreement Between LBHI and James W. Giddens, as Trustee for Lehman Brothers

 Inc., Regarding Lehman Brothers Unclaimed Funds in Court Registry and Related Relief




 61479176_1
08-13555-scc        Doc 18792         Filed 07/26/11 Entered 07/26/11 18:34:18                    Main Document
                                                  Pg 33 of 40


 (the “Motion”).1 I have reviewed a copy of the Motion, and I adopt the representations contained

 therein, as if set forth in full and at length in this Declaration.

                   3.       I am a Managing Director of A&M. A&M has been providing

 restructuring and general operational and managerial services to LBHI and its affiliated debtors

 (together, the “Debtors”) in connection with the above-referenced chapter 11 cases. I was

 assigned to the Debtors’ cases on or about September 2008. I am the Co-Treasurer of LBHI and

 certain of its subsidiaries. My responsibilities include, but are not limited to, overall supervision

 of cash management, treasury operations, payroll, accounts payable, and certain employee

 matters.

                   4.       In that role, I have participated in the analysis of the reports generated by

 the NYS OUF regarding the Lehman Brothers Unclaimed Funds and the allocation of such

 Funds between LBI, the LBHI Entities, LBIE, and the Other Entities. I was also one of the

 primary representatives for the LBHI Entities in the negotiation of the compromise allocation of

 the Lehman Brothers Unclaimed Funds, as set forth in the Settlement Agreement.

                   5.       The initial allocation of Lehman Brothers Unclaimed Funds based on the

 reports generated by the NYS OUF is set forth in the Motion. Prior to entering into the

 Settlement Agreement, LBHI conducted extensive research and investigation of the numerous

 line items, including those in the Requires Significant Research Category. LBHI identified 71

 entries, totaling $570,990.70, initially allocated to LBI, LBHI, or the Requires Significant

 Research Category that listed either LBHI or a subsidiary of LBHI in the “Account Title” field.

 The SIPA Trustee and LBHI agreed that such amounts should be allocated to the respective



 1.   Capitalized terms used herein but not defined shall have the meaning ascribed to them in the Motion.




 61479176_1                                               2
08-13555-scc     Doc 18792      Filed 07/26/11 Entered 07/26/11 18:34:18             Main Document
                                            Pg 34 of 40


 LBHI Entities. LBHI also identified several entries, totaling $66,827.47, initially allocated to

 LBI or the Requires Significant Research Category that listed Other Entities in the “Account

 Title” field. Finally, LBHI identified entries totaling $10,049.83 allocated to LBIE.

                6.      LBHI, however, was not able to reach a conclusive determination of the

 Lehman Brothers Unclaimed Funds in the Requires Significant Research Category because, in

 many instances, the descriptions in the reports provided by the NYS OUF do not provide enough

 information for LBHI to determine the proper recipient based on their corporate records. Rather,

 in such instances, LBHI would have to contact each entity responsible for depositing the Funds

 with the NYS OUF for more information regarding the respective deposits. Given the

 administrative burden and expense that would be incurred by LBHI and the SIPA Trustee to

 conduct such further investigation on the thousands of relatively small amounts identified by

 NYS OUF, the uncertainty as to whether or not such entities would have the requisite

 information, and the potential that it would not likely result in a conclusive determination, as

 well as the expense and protracted nature attendant to any litigation regarding allocation of such

 Funds, LBHI and the SIPA Trustee commenced arm’s-length negotiations with regard to a

 potential compromise. Those negotiations resulted in a compromise allocation of the Lehman

 Brothers Unclaimed Funds, the terms of which are set forth in the Settlement Agreement.

 Generally, the settlement provides that line items generated by the NYS OUF’s reporting that are

 in the Requires Significant Research Category, shall be allocated 70% to LBI and 30% to LBHI

 and, that, to the extent interest has accrued on the Lehman Brothers Unclaimed Funds in the

 Registry, such accrued interest shall be allocated and paid upon the later of the effectiveness of

 the Settlement Agreement or receipt of the funds in a manner whereby LBI shall receive 70%

 thereof and LBHI shall receive 30% thereof. Neither LBI nor the LBHI Entities will be credited




 61479176_1                                       3
08-13555-scc     Doc 18792      Filed 07/26/11 Entered 07/26/11 18:34:18            Main Document
                                            Pg 35 of 40


 with the Lehman Brothers Unclaimed Funds of Other Entities; but, rather, LBI will return such

 Funds to the NYS OUF. All funds allocated to LBIE shall be paid to LBHI, which will promptly

 remit such funds to LBIE. The proposed compromise relating to the Lehman Brothers

 Unclaimed Funds would result in the allocation of $13,157,964.41 to LBI and $1,315,471.69 to

 the LBHI Entities.

                7.     LBHI believes that the settlement is in the best interests of LBHI’s estate

 and creditors. The settlement was negotiated at arm’s-length and represents a fair resolution that

 will maximize recovery to LBHI’s constituents. Accordingly, I, on behalf of the LBHI’s estate,

 believe that the settlement enumerated in the Motion is reasonable and in the best interests of

 LBHI’s estate and request its approval by the Court.

     Executed on this 26th day of July, 2011


                                                  /s/ Steven J. Cohn
                                                  Steven J. Cohn




 61479176_1                                       4
08-13555-scc   Doc 18792   Filed 07/26/11 Entered 07/26/11 18:34:18   Main Document
                                       Pg 36 of 40


                                     Exhibit D




 61479176_1
08-13555-scc        Doc 18792         Filed 07/26/11 Entered 07/26/11 18:34:18                    Main Document
                                                  Pg 37 of 40


 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------------x
                                                                    :
 In re                                                              :    Chapter 11 Case No.
                                                                    :
 LEHMAN BROTHERS HOLDINGS INC., et al., :                                08-13555 (JMP)
                                                                    :
                                     Debtors.                       :    (Jointly Administered)
 -------------------------------------------------------------------x
                                                                    :
 In re                                                              :   SIPA Case No.
                                                                    :
 LEHMAN BROTHERS INC.,                                              :   08-01420 (JMP)
                                                                    :
                                     Debtor.                        :
 -------------------------------------------------------------------x
 ORDER PURSUANT TO SECTION 105(a) OF THE BANKRUPTCY CODE AND RULE
   9019 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE APPROVING
  SETTLEMENT AGREEMENT BETWEEN LEHMAN BROTHERS HOLDINGS INC.,
     AND JAMES W. GIDDENS, AS TRUSTEE FOR LEHMAN BROTHERS INC.,
            REGARDING LEHMAN BROTHERS UNCLAIMED FUNDS
                 IN COURT REGISTRY AND RELATED RELIEF

                   Upon the motion, dated July 26, 2011 (the “Motion”),1 of Lehman Brothers

 Holdings Inc. (“LBHI”) and James W. Giddens, Trustee for the SIPA Liquidation of Lehman

 Brothers Inc. (the “SIPA Trustee”), for authorization and approval, pursuant to Sections 105(a)

 of title 11 of the United State Code (the “Bankruptcy Code”) and rule 9019 of the Federal Rules

 of Bankruptcy Procedure (the “Bankruptcy Rules”), of a Settlement Agreement, and to enter an

 order for approval of the Settlement Agreement, all as more fully described in the Motion; and

 the Court having jurisdiction in the Chapter 11 Cases to consider the Motion and the relief

 requested therein in accordance with 28 U.S.C. §§ 157 and 1334 and the Standing Order M-61

 Referring to Bankruptcy Judges for the Southern District of New York Any and All Proceedings



 1.   Capitalized terms used but not defined in this Order have the meanings ascribed to them in the Motion.




 61479176_1
08-13555-scc         Doc 18792      Filed 07/26/11 Entered 07/26/11 18:34:18             Main Document
                                                Pg 38 of 40


 Under Title 11, dated July 10, 1984 (Ward, Acting C.J.); and consideration of the Motion and the

 relief requested therein in the Chapter 11 Cases being a core proceeding pursuant to 28 U.S.C.

 § 157(b); and venue as to the Chapter 11 Cases being proper before this Court pursuant to 28

 U.S.C. §§ 1408 and 1409; and the Court having jurisdiction to consider the Motion and the relief

 requested in the SIPA Proceeding pursuant to SIPA § 78eee(b)(4); and venue as to the SIPA

 Proceeding being proper before this Court pursuant to SIPA §§ 78eee(a)(3) and 78aa; and due

 and proper notice of the Motion having been provided; and the Court having found and

 determined that the relief sought in the Motion is in the best interests of the Debtors, LBI, their

 estates and creditors, and all parties in interest and that the legal and factual bases set forth in the

 Motion establish just cause for the relief granted herein; and after due deliberation and sufficient

 cause appearing therefore, it is

                 ORDERED that the Motion is granted in all respects; and it is further

                 ORDERED that the Settlement Agreement is authorized and approved pursuant

 to Rule 9019 of the Federal Rules of Bankruptcy Procedure; and it is further

                 ORDERED that LBHI and the SIPA Trustee are authorized to take any and all

 actions reasonably necessary to consummate the Settlement Agreement and perform any and all

 obligations contemplated therein; and it is further

                 ORDERED that the Clerk of the Court shall distribute the Lehman Brothers

 Unclaimed Funds and all interest accrued thereto through the date of distribution to the SIPA

 Trustee so that the SIPA Trustee shall effectuate the allocation and distribution of the Lehman

 Brothers Unclaimed Funds pursuant to the terms of the Settlement Agreement and this Order;

 and it is further




 61479176_1                                         2
08-13555-scc      Doc 18792        Filed 07/26/11 Entered 07/26/11 18:34:18          Main Document
                                               Pg 39 of 40


                 ORDERED that the New York State Comptroller Office of Unclaimed Funds

 (the “NYS OUF”) shall make all future distributions of Lehman Brothers Unclaimed Funds to

 the SIPA Trustee on an annual basis and the SIPA Trustee shall promptly allocate and distribute

 such Funds, as further described in the Settlement Agreement, and the SIPA Trustee and the

 LBHI Entities shall hold the NYS OUF harmless upon receipt by the SIPA Trustee of each such

 distribution; and it is further

                 ORDERED that, upon receipt by Unclaimed Property Recovery Services, Inc.

 (“UPRS”) of a final distribution of Lehman Brothers Unclaimed Property pursuant to the UPRS

 Stipulation, the SIPA Trustee’s obligations under the UPRS Stipulation shall be deemed fully

 and forever satisfied and UPRS shall have no further claim arising from or relating to any portion

 of the Lehman Brothers Unclaimed Funds or any future distribution to LBI or the Debtors from

 the NYS OUF; and it is further

                 ORDERED the Court shall retain jurisdiction to (i) enforce and implement the

 terms and provisions of the Settlement Agreement and resolve disputes thereunder and

 (ii) implement and enforce the provisions of this Order; and it is further

                 ORDERED that all objections to the Motion or the relief requested therein that

 have not been withdrawn, waived, or settled, and all reservations of rights included therein, are

 overruled on the merits; and it is further

                 ORDERED that the failure to specifically include any particular provision of the

 Settlement Agreement in this Order shall not diminish or impair the effectiveness of such

 provision, it being the intent of the Court that the implementation of the transactions

 contemplated in the Settlement Agreement be approved in its entirety; and it is further




 61479176_1                                       3
08-13555-scc    Doc 18792      Filed 07/26/11 Entered 07/26/11 18:34:18       Main Document
                                           Pg 40 of 40


                ORDERED that this Order shall be effective and enforceable immediately upon

 entry.


 Dated:               , 2011
          New York, New York

                                    ___________________________________
                                    HONORABLE JAMES M. PECK
                                    UNITED STATES BANKRUPTCY JUDGE




 61479176_1                                   4
